Case 3:16-cv-05273-BHS Document 85 Filed 07/16/20 Page 1 of 18

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WESTERN DISTRICT OF WASHINGTON
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FILED
SUPREME COURT
STATE OF WASHINGTON
7/13/2020
BY SUSAN L. CARLSON
CLERK

THE SUPREME COURT OF WASHINGTON

CERTIFICATION FROM THE UNITED
STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON

IN

W.H., as guardian for her minor daughter,
P.H.; W.H., individually; J.H., individually;
B.M., as guardian for her minor daughter, S.A.;
and B.M., individually,

Vv.

OLYMPIA SCHOOL DISTRICT, a public
corporation; JENNIFER PRIDDY, individually;
FREDERICK DAVID STANLEY, individually;
BARBARA GREER, individually; WILLIAM V.
LAHMANN, individually; DOMINIC G.
CVITANICH, individually,

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CERTIFICATE OF FINALITY
Supreme Court No. 97630-9

United States District Court -
Western District No. C16-5273 BHS

THE STATE OF WASHINGTON TO: _— United States District Court — Western District.

THIS IS TO CERTIFY that the Supreme Court of the State of Washington addressed the

questions certified by the United States District Court for the Western District in the opinion filed

in this case on June 18, 2020. The opinion became final on July 8, 2020. A true copy of the

opinion is attached.
Case 3:16-cv-05273-BHS Document 85 Filed 07/16/20 Page 2 of 18

Page 2

No. 97630-9
CERTIFICATE OF FINALITY

Ce.

 

Hon. Benjamin Settle, Judge
Hon. William M. McCool, Clerk
Gerald John Moberg

Michael Early McFarland Jr.
Kenneth Wendell Masters
Shelby R. Frost Lemmel
Darrell L. Cochran

Kevin Michael Hastings
Christopher Eric Love

Reporter of Decisions

IN TESTIMONY WHEREOF, I have hereunto
set my hand and affixed the seal of this Court
at Olympia, Washington on July 13, 2020.

SUSAN L. CARLSON
Clerk of the Supreme Court
State of Washington
Case 3:16-cv-05273-BHS Document 85 Filed 07/16/20 Page 3 of 18

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FOR RECORD AT 8 A.M. ON
IN CLERK’S OFFICE JUNE 18, 2020
SUPREME COURT, STATE OF WASHINGTON
JUNE 18, 2020 SStaom A Cote

SUSAN L. CARLSON
SUPREME COURT CLERK

CHIEF JUS TICE

INTHE SUPREME COURT OF THE STATE OF WASHINGTON

CERTIFICATION FROM THE’ UNITED
STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON No. 97630-9

iN En Banc

Filed June 18, 2020

 

W.H., as guardian for her minor daughter,
P.H.; W.H., individually; J.H., individually;
B.M., as guardian for her minor daughter, S.A.;
and B.M., individually,

V.

OLYMPIA SCHOOL DISTRICT, a_ public
corporation; JENNIFER PRIDDY, individually;
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Plaintiffs,
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WIGGINS, J.P.T.*—The United States District Court for the Western District of

Washington certified two questions to this court in connection with the meaning of the

 

* Justice Charles Wiggins is serving as a justice pro tempore of the Supreme Court pursuant
to Washington Constitution article IV, section 2(a).
Case 3:16-cv-05273-BHS Document 85 Filed 07/16/20 Page 4 of 18

W.H. et al. v. Olympia Sch. Dist. et al., No. 97630-9

Washington Law Against Discrimination (WLAD), chapter 49.60 RCW. First, the
district court asked, “May a school district be subject to strict liability for discrimination
by its employees in violation of the WLAD?” Order Granting Defs.’ Mot. To Certify
Issues to Wash. State Supreme Ct. & To Stay Proceedings, W.H. v. Olympia Sch.
Dist., No. C16-5273 BHS (Certification Order), at 8. Second, it asked, “If a school
district may be strictly liable for its employees’ discrimination under the WLAD, does
‘discrimination’ for the purposes of this cause of action encompass intentional sexual
misconduct[,] including physical abuse and assault?” /d. at 10.

We answer yes to both questions. First, we hold that a school district may be
subject to strict liability for discrimination in places of public accommodation by its
employees in violation of the WLAD. Second, we hold that under the WLAD,
discrimination can encompass intentional sexual misconduct, including physical
abuse and assault.

FACTS AND PROCEDURAL HISTORY

In August 2005, the Olympia School District (District) hired Gary Shafer as a
school bus driver. It is undisputed that Shafer, during his employment, abused
passengers on school buses, including P.H. and S.A., the minor plaintiffs in this case.

In 2016, the plaintiffs sued the District in federal court, alongside several
codefendants. They claimed both state and federal causes of action. The defendants
moved for summary judgment in June 2017, which was granted in part and denied in
part. The court denied the defendants’ motion to modify. The United States Court of
Appeals for the Ninth Circuit affirmed in part, reversed in part, and remanded to district

court. W.H. v. Olympia Sch. Dist., 738 F. App’x 565, 567 (9th Cir. 2018).
2
Case 3:16-cv-05273-BHS Document 85 Filed 07/16/20 Page 5 of 18

W.H. et al. v. Olympia Sch. Dist. et al., No. 97630-9

At the end of January 2019, we decided Floeting v. Group Health Cooperative,
a case relevant today. 192 Wn.2d 848, 434 P.3d 39 (2019). In response to our
decision in that case, the plaintiffs successfully moved to amend their complaint to
include a claim under the WLAD. The amended complaint alleges that the minor
plaintiffs’ treatment constituted sex discrimination in a place of public accommodation.

The defendants then moved to certify three questions regarding the WLAD
claim to this court. The court granted the motion over the plaintiffs’ objection, certifying
the above two questions to this court. Certification Order at 1, 8; 10.

The federal court declined to certify the third proposed question, which asked,
“Where Floeting seeks to prevent gender-based discrimination in places of public
accommodation, does it apply here, where sexual abuse (as opposed to harassment)
is not based on gender, but on Shafer’s criminal depravity toward children of both
genders?” Defs.’ Mot. To Certify Issues to Wash. State Supreme Ct. & To Stay
Proceedings, at 11. The district court decided that the third question was not “ripe for
a legal determination” because “whether Plaintiffs can show gender was a substantial
factor in the discrimination the minor Plaintiffs experienced remains a factual question
at this point in the proceedings.” Certification Order at 11.

STANDARD OF REVIEW

We review certified questions de novo. Broughton Lumber Co. v. BNSF Ry.
Co., 174 Wn.2d 619, 624, 278 P.3d 173 (2012) (citing Bradburn v. N. Cent. Reg’
Library Dist., 168 Wn.2d 789, 799, 231 P.3d 166 (2010)). We consider legal issues in
certified questions not in the abstract but based on the record provided by the federal

court. /d. We review questions of statutory interpretation de novo. Dep't of Ecology v.
3
Case 3:16-cv-05273-BHS Document 85 Filed 07/16/20 Page 6 of 18

W.H. ef al. v. Olympia Sch. Dist. et al., No. 97630-9

Campbell & Gwinn, LLC, 146 Wn.2d 1, 9, 43 P.3d 4 (2002). We construe the WLAD
“liberally for the accomplishment of the purposes thereof.” RCW 49.60.020.
ANALYSIS

The provision of the WLAD at issue here, RCW 49.60.215, was first enacted in
1957. But the WLAD was not the first law prohibiting discrimination in our state. Our
legislature has long taken seriously the problem of discrimination in places of public
accommodation. In March of 1890—mere months after Washington became a state—
the legislature passed a law criminalizing discrimination on the basis of race or
national origin in places of public accommodation. LAWS OF 1889-1890, ch. 16,.§§ 1-
2, at 524. This was later codified into the Remington & Ballinger’s Code in 1909: it is
now RCW 9.91.010. The first private right of action emerged in 1921, with our decision
in Anderson v. Pantages Theatre Co., 114 Wash. 24, 28, 194 P. 813 (1921). There,
we read a private cause of action into the criminal statute. /d.

Modern legislation against discrimination began in 1949. In that year, the
legislature passed the Law Against Discrimination in Employment, which protected
individuals against employment discrimination on the basis of race, creed, color, or
national origin. LAWS OF 1949, ch. 183, pmbl., § 1. This created the right for individuals
to bring complaints before the Washington State Board Against Discrimination in
Employment, also established by the act. /d. §§ 4, 8.

In 1957, the legislature enacted the WLAD. LAWS OF 1957, ch. 37. Once more
protecting against discrimination on the basis of “race, creed, color, or national origin,”
the WLAD prohibited discrimination in places of public accommodation. /d. §§ 1, 3.

This section—now RCW 49.60.215—makes it “an unfair practice for any person or

4
Case 3:16-cv-05273-BHS Document 85 Filed 07/16/20 Page 7 of 18

W.H. et al. v. Olympia Sch. Dist. et al., No. 97630-9

[the person's] agent or employee to commit” a discriminatory act “in any place of public
... accommodation.” /d. § 14.

In 1973, the legislature added age, marital status, and sex to the general
categories protected. LAWS OF 1973, ch. 141, § 1. These amendments also expressly
created a private: right of action for violations of the WLAD, codified in RCW
49.60.030(2). /d. § 3. In 1985, the legislature added “sex” to RCW 49.60.215. LAws
OF 1985, ch. 203, § 1.

This court has of course been far from silent as the WLAD developed. Two
cases are of particular note today. In Fell v. Spokane Transit Authority, 128 Wn.2d
618, 637, 911 P.2d 1319 (1996), we held that to make a prima facie public
accommodations claim under RCW 49.60.215, the plaintiff must show that

(1) the plaintiff is a member of a protected class, (2) the defendant’s

establishment is a place of public accommodation, (3) the defendant

discriminated against the plaintiff when it did not treat the plaintiff in a

manner comparable to the treatment it provides to persons outside that

class, and (4) the plaintiff's protected status was a substantial factor that
caused the discrimination.

Floeting, 192 Wn.2d at 853 (citing Fel/, 128 Wn.2d at 637).

Most recently, we decided Floeting, 192 Wn.2d 848. In Floeting, we held that
employers are strictly liable for the actions of their employees under RCW 49.60.215.
Id. at 861. In resolving this question, we analyzed the plain language of the WLAD,
recognizing that the “WWLAD makes it unlawful for ‘any person or the person’s agent
or employee to commit an act’ of, among other things, discrimination in a place of
public accommodation.” /d. at 856 (quoting RCW 49.60.215). Therefore, we held that

“[t]his provision imposes direct liability on employers for the discriminatory conduct of
Case 3:16-cv-05273-BHS Document 85 Filed 07/16/20 Page 8 of 18

W.H. et al. v. Olympia Sch. Dist. et al., No. 97630-9

their agents and employees.” /d. We added that “RCW 49.60.215 is not a negligence
statute where foreseeability matters,” but that the WLAD instead “imposes direct
liability for discriminatory acts, regardless of the culpability of the actor.” /d. We
clarified that this means that the WLAD “imposes strict liability to the extent it does not
allow an employer to escape liability by asserting a lack of fault.” /d. at 859. We thus
concluded, “RCW 49.60.215 imposes strict liability on employers for the actions of
their employees.” /d. at 861.

F In aWLAD public accommodations claim, a school district is subject to
strict liability for discrimination by its employees

The district court has asked, “May a school district be subject to strict liability
for discrimination by its employees in violation of the WLAD?” Certification Order at 8.
We hold that the answer to this question is yes: school districts are subject to strict
liability for discrimination by their employees in violation of the WLAD in places of
public accommodation under RCW 49.60.215.

A. A school district is subject to strict liability for the discriminatory
acts of its employees in places of public accommodation

Floeting, as noted above, directly answered whether employers were strictly
liable for the actions of their employees under RCW 49.60.215 of the WLAD with a
resounding yes. Floeting expressly held that “RCW 49.60.215 imposes strict liability
on employers for the actions of their employees.” 192 Wn.2d at 861.

Thus, while in the past the issues in this case were open and debatable,
Floeting has resolved them. See id. Prior decisions by this court bind us via stare
decisis. State v. Otton, 185 Wn.2d 673, 678, 374 P.3d 1108 (2016). “Stare decisis is
a doctrine developed by courts to accomplish the requisite element of stability in court-

6
Case 3:16-cv-05273-BHS Document 85 Filed 07/16/20 Page 9 of 18

W.H. et al. v. Olympia Sch. Dist. et al., No. 97630-9

made law, but is not an absolute impediment to change.” /d. (quoting /n re Rights to
Waters of Stranger Creek, 77 Wn.2d 649, 653, 466 P.2d 508 (1970)).

There are two ways to overcome stare decisis. First, a party may show that a
prior decision was incorrect and harmful. /d. (citing Stranger Creek, 77 Wn.2d at 653).
Alternatively, “[t]here are also “relatively rare” occasions when a court should eschew
prior precedent in deference to intervening authority’ where ‘the legal underpinnings
of our precedent have changed or disappeared altogether.” /d. (internal quotation
marks omitted) (quoting W.G. Clark Constr. Co. v. Pac. Nw. Reg? Council of
Carpenters, 180 Wn.2d 54, 66, 322 P.3d 1207 (2014)).

Here, the District does not argue that Floeting was incorrect and harmful or that
the legal underpinnings of the decision have changed or disappeared. See Wash.
Supreme Court oral argument, W.H. v. Olympia Sch. Dist., No. 97630-9 (Mar. 12,
2020), at 28 min., 8 sec., video recording by TVW, Washington State’s Public Affairs
Network, http://Awww.tvw.org/watch/?eventID=200031078 (expressly declining to
contest Floeting). We have no reason to overturn Floefing, and it instead binds us via
stare decisis.

Rather than seeking to overturn Floeting, the District instead disputes whether
strict liability applies to school districts. But there is no reason to refrain from applying
Floeting to school districts. The relevant statutory language shows why Floeting
applies to school districts. RCW 49.60.215 states, in relevant part, that

[ijt shall be an unfair practice for any person or the person's agent or

employee to commit an act which directly or indirectly results in any...
discrimination ... in any place of public... accommodation ....

RCW 49.60.040(19) defines “person” for the purposes of the WLAD as
7
Case 3:16-cv-05273-BHS Document 85 Filed 07/16/20 Page 10 of 18

W.H. et al. v. Olympia Sch. Dist. et al., No. 97630-9

one or more individuals, partnerships, associations, organizations,
corporations, cooperatives, legal representatives, trustees and
receivers, or any group of persons; it includes any owner, lessee,
proprietor, manager, agent, or employee, whether one or more natural
persons; and further includes any political or civil subdivisions of the
state and any agency or instrumentality of the state or of any political or
civil subdivision thereof.

(Emphasis added.)

Finally, RCW 28A.315.005(2) states that “[l]ocal school districts are political
subdivisions of the state.”

The chain of logic is clear. Public accommodations claims can be brought
against “any person.” RCW 49.60.215. Any “person” includes “political . .
subdivisions” of the state. RCW 49.60.040(19). School districts are political
subdivisions of the state. RCW 28A.315.005(2). Therefore, WLAD public
accommodations claims apply to school districts. As all employers subject to WLAD
public accommodations claims are strictly liable for the actions of their employees,
Floeting, 192 Wn.2d at 856-59, it follows that school districts are strictly liable for the
actions of their employees in the context of a public accommodations claim.

B. The District's arguments to the contrary do not persuade

The District asserts that the answer to question 1 must be no. It argues that
“school districts may not be strictly liable, but are subject to liability only for their acts
and omissions.” Defs.’ Br. on Certified Questions at 9 (Defs.’ Br.).1 To support this
conclusion, the District makes three arguments: that precedent prevents school

districts from being held directly or strictly liable for sexual abuse by their employees,

 

' The District makes several other arguments that purport to answer this question in the negative,
but they deal with matters not directly at issue in this case. See Part Ill, infra.

8
Case 3:16-cv-05273-BHS Document 85 Filed 07/16/20 Page 11 of 18

W.H. et al. v. Olympia Sch. Dist. et al., No. 97630-9

that RCW 4.08.120 controls over anything in the WLAD, and that sovereign immunity
prevents the court from treating a WLAD claim against schoo! districts as a strict
liability claim. These arguments cannot overcome the stare decisis of Floeting.

First, the precedents the District cites are inapplicable. As the plaintiffs point
out, “it is unremarkable that [the cases cited by the District] applied only [negligence]
tort principles of liability to such conduct, as not a single one of them addressed a
WLAD public accommodation claim.” Pls.’ Reply Br. on Certified Questions (Pls.’
Reply Br.) at 19. The plaintiffs are correct: none of the many cases cited by the District
deal with the WLAD in any shape or form.” The District nearly admits as much, noting
that “Floeting does not address [some of] these cases,!®) likely because [they] are not
WLAD cases, [and] so do not speak to the meaning of RCW 49.60.215.” Defs.’ Br. at
23. This is correct: cases dealing with other causes of action do not limit or alter the
nature of public accommodation suits brought under the WLAD. There is thus no need

to determine whether such decisions were incorrect and harmful because they provide

 

? These cases deal with claims against school districts generally: Anderson v. Soap Lake Sch.
Dist., 191 Wn.2d 343, 352, 423 P.3d 197 (2018) (suit brought under negligent hiring and retention,
negligent training and supervision, negligent protection of a student, vicarious liability, and breach
of contract); N.L. v. Bethel Sch. Dist., 186 Wn.2d 422, 426, 378 P.3d 162 (2016) (negligence
Claim); Christensen v. Royal Sch. Dist. No. 160, 156 Wn.2d 62, 64, 124 P.3d 283 (2005) (negligent
supervision and hiring claims); McLeod v. Grant County. Sch. Dist. No. 128, 42 Wn.2d 316, 319,
255 P.2d 360 (1953) (negligence claim); Briscoe v. Sch. Dist. No 123, 32 Wn.2d 353, 361, 201
P.2d 697 (1949) (discussing negligence claims). Not one mentions the WLAD.

3 These cases deal with sexual assault outside the context of schools: C.J.C. v. Corp. of Catholic
Bishop of Yakima, 138 Wn.2d 699, 704, 985 P.2d 262 (1999) (negligence claims); Niece v.
Elmview.Grp. Home, 131 Wn.2d 39, 43, 929 P.2d 420 (1997) (tort claims); Smith v. Sacred Heart
Med. Ctr, 144 Wn. App. 537, 541, 184 P.3d 646 (2008) (negligent supervision and vicarious
liability); Thompson v. Everett Clinic, 71 Wn. App. 548, 550, 860 P.2d 1054 (1993) (claims for
respondeat superior/vicarious liability for underlying tortious acts of employee). Once more, none
of these cases involve WLAD claims.
Case 3:16-cv-05273-BHS Document 85 Filed 07/16/20 Page 12 of 18

W.H. et al. v. Olympia Sch. Dist. et al., No. 97630-9

no controlling precedent in the WLAD context. See id. at 25-26 (arguing that such
analysis is necessary). Controlling precedent is instead provided by Floeting.

Second, the statute the District relies on, RCW 4.08.120, does not contro! over
anything in the WLAD and does not make non-WLAD tort suits the only means of
recovery against schools and other public corporations. See Defs.’ Br. at 9-10, 13
(making this argument). Instead, RCW 4.08.120 merely provides one means of
bringing an action against public corporations. RCW 4.08.120 reads:

An action may be maintained against a county or other of the public

corporations mentioned or described in RCW 4.08.110, [which includes

school districts,] either upon a contract made by such county, or other

public corporation in its corporate character and within the scope of its

authority, or for an injury to the rights of the plaintiff arising from some
act or omission of such county or other public corporation.

This language is not exclusive. As the plaintiffs point out, the District essentially “urges
the Court to read into the statute a term that does not exist—‘only’'—” even though
“the law does not permit adding terms to the statute.” Pls.’ Reply Br. at 16 (citing Rest.
Dev., Inc. v. Cananwill, Inc., 150 Wn.2d 674, 682, 80 P.3d 598 (2003) (“[A] court must
not add words where the legislature has chosen not to include them.”)). Further, the
District can point to no limiting principle in Floeting that prevents that decision from
applying here.

The District's argument that RCW 4.08.120 waived the common law rule of
sovereign immunity possessed by school districts only for “suits in contract or arising
from their acts or omissions,” and “did not subject school districts to all suits” is equally
unconvincing. Resp. to Amicus Curiae Brs. at 9 (citing Briscoe v. Sch. Dist. No. 123,

32 Wn.2d 353, 361, 201 P.2d 697 (1949)). Again, RCW 4.08.120 does not purport to

10
Case 3:16-cv-05273-BHS Document 85 Filed 07/16/20 Page 13 of 18

W.H. ef al. v. Olympia Sch. Dist. et al., No. 97630-9

be exclusive. Further, this argument ignores the broad waiver of sovereign immunity
carried out by the legislature in the 1960s. See LAWS OF 1961, ch. 136, § 1; LAWS OF
1967, ch. 164, § 1; see also Blair v. Wash. State Univ., 108 Wn.2d 558, 576, 740 P.2d
1379 (1987) (showing this waiver of sovereign immunity permits WLAD actions). This
applies directly to school districts. RCW 4.96.010 (rendering “[a]ll local governmental
entities . > . liable for damages arising out of their tortious conduct,” including
“municipal corporation[s] as defined in RCW 39.50.010”); RCW 39.50.010 (including
school district in its definition of “municipal corporation”). Further, to whatever extent
sovereign immunity may have protected school districts from discrimination lawsuits
prior to the WLAD, the WLAD clearly abrogated that sovereign immunity when it
created a private cause of action, permitting suit in court, for discrimination in places
of public accommodation and included public educational facilities in its definition of
places of public accommodation. RCW 49.60.030(2) (creating a private cause of
action for WLAD violations), .040(2) (defining “any public . . . educational institution”
as a place of public accommodation), .215 (public accommodations claims apply to
“any person”), .040(19) (“person” includes “political . . . subdivisions” of the state);

RCW 28A.315.005(2) (school districts are political subdivisions of the state).

 

* Curiously, Blair also suggests, in dicta, that the WLAD itself does not waive sovereign immunity
for school districts or other public corporations, relying only on the broad waivers for the 1960s to
permit such actions. 108 Whn2d at 576. There, we noted, “The Law
Against Discrimination enacted in 1949 did not specifically waive the State's sovereign
immunity to suit in court, but instead established a state agency to
process discrimination claims.” /d. (citing LAWS OF 1949, ch. 183). But this discussion appeared
to ignore the private cause of action created by RCW 49.60.030(2).

11
Case 3:16-cv-05273-BHS Document 85 Filed 07/16/20 Page 14 of 18

W.H. et al. v. Olympia Sch. Dist. et al., No. 97630-9

lH. “Discrimination” for the purposes of a WLAD public accommodations
cause of action encompasses intentional sexual misconduct

The district court’s second certified question asks, “If a school district may be
strictly liable for its employees’ discrimination under the WLAD, does ‘discrimination’
for the purposes of this cause of action encompass intentional sexual misconductf,]
including physical abuse and assault?” Certification Order at 10.

Floeting has essentially answered this question as well. We held in Floeting
that “[s]exual harassment is a form of sex discrimination.” 192 Wn.2d at 853; see also
id. at 862-63 (Madsen, J., dissenting) (agreeing that “sexual harassment... . is a
form of sex discrimination” (citing Glasgow v. Ga.-Pac. Corp., 103 Wn.2d 401, 405,
693 P.2d 708 (1985))). Because sexual harassment is a form of sex discrimination,
so, too, is “intentional sexual misconduct[,] including physical abuse and assault.”
Certification Order at 10. As the plaintiffs rightly point out, “sexual harassment is, by
definition, intentional sexual misconduct.” Pls.’ Opening Br. at 17. Having held that
one form of intentional sexual misconduct constitutes sex discrimination, it logically
follows that other forms of intentional sexual discrimination, including physical abuse
and assault, also constitute sex discrimination. Thus the answer to this question is
yes.

Other courts have also concluded that sexual assault and sexual abuse can
constitute sex discrimination. The Ninth Circuit has noted that

[rlape is unquestionably among the most severe forms of sexual

harassment. ... It imports a profoundly serious level of abuse... . . Being
raped is, at minimum, an act of discrimination based on sex.

12
Case 3:16-cv-05273-BHS Document 85 Filed 07/16/20 Page 15 of 18

W.H. et al. v. Olympia Sch. Dist. et al., No. 97630-9

Little v. Windermere Relocation, Inc., 301 F.3d 958, 967-68 (9th Cir. 2002) (citing
Brock v. United States, 64 F.3d 1421, 1423 (9th Cir. 1995)). Our Court of Appeals has
agreed with this conclusion, favorably citing Little for the same proposition. S.S. v.
Alexander, 143 Wn. App. 75, 101, 177 P.3d 724 (2008).

Rather than contest this, the District has conceded that the answer to this
question is yes, insofar as the other relevant factors of a WLAD public accommodation
claim are met. Defs.’ Br. at 28; see also Wash. Supreme Court oral argument, supra,
at 16 min., 46 sec. (also conceding this point). But the District protests that such a
claim cannot be brought here because, it asserts, “Shafer sexually assaulted boys
and girls.” /d. Thus, the District argues that “this is not a WLAD case” because “the
class at issue[ ] is not sex, but age.” /d. But this does not answer the question; this
question does not ask whether the plaintiffs were members of a protected class or
whether this is “a WLAD case” but, instead, whether “‘discrimination’ for the purposes
of this cause of action encompass[es] intentional sexual misconduct[,] including
physical abuse and assault.” Certification Order at 10. The District has answered yes
to this question. And so do we.

Hi. We decline to consider the District’s remaining arguments

The District's remaining arguments, which purport to resolve the first question,
in fact go beyond the scope of the certified questions. We decline to reach them.

First, the District essentially invites us to consider the question that the federal
court chose nof to certify, which was “whether a plaintiff can prove discrimination was

based on gender when the perpetrator directed harassing conduct toward victims of

13
Case 3:16-cv-05273-BHS Document 85 Filed 07/16/20 Page 16 of 18

W.H. et al. v. Olympia Sch. Dist. et al., No. 97630-9

both genders.” /d. at 11. As the federal court noted, this remains a factual issue, one
we cannot resolve here. /d. We decline the District’s invitation to do so.

Second, the District argues, “Plaintiffs’ claims fail the first and second Fel/
inquiries.” Defs.’ Br. at 5. This argument is inapplicable to the questions posed by the
district court because neither question asks whether the plaintiffs can satisfy the first
two Feil factors. /d. at 4. We decline to reach these issues.

CONCLUSION

We answer both certified questions in the affirmative. First, a schoo! district is
subject to strict liability lawsuits for discrimination in places of public accommodation
by its employees in violation of the WLAD. Second, intentional sexual misconduct can

amount to discrimination under the WLAD.

14
Case 3:16-cv-05273-BHS Document 85 Filed 07/16/20 Page 17 of 18

W.H. et al, v. Olympia Sch. Dist. et al., No. 97630-9

Megas, TPT

 

WE CONCUR.

 

 

 

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